Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 1 of 9




                                             3:23-cv05845-DGE
Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 2 of 9
Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 3 of 9
Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 4 of 9
Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 5 of 9
Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 6 of 9
Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 7 of 9
Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 8 of 9
Case 3:23-cv-05845-DGE Document 4 Filed 11/03/23 Page 9 of 9
